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13
                            UNITED STATES DISTRICT COURT
14
                                DISTRICT OF ARIZONA
15
     Facebook, Inc., a Delaware corporation;        CASE NO. 2:20-cv-00470-GMS
16   Instagram, LLC, a Delaware limited
     liability company; and WhatsApp Inc., a        DEFENDANT WHOISGUARD INC.’S
17   Delaware corporation,                          ANSWER AND COUNTERCLAIM
18                   Plaintiffs,
19         v.                                       DEMAND FOR JURY TRIAL
20   Namecheap, Inc., a Delaware corporation;
     and WhoisGuard, Inc., a Republic of
21   Panama corporation,
22                   Defendants.
23   WhoisGuard, Inc., a Republic of Panama
     corporation,
24
                     Counterclaimant,
25
           v.
26
     Facebook, Inc., a Delaware corporation,
27
                     Counterclaim Defendant.
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1                                              ANSWER
2             Defendant and Counterclaimant WhoisGuard, Inc. (“WhoisGuard”), by and through
3    its attorneys, hereby answers the Complaint of Plaintiff and Counterclaim Defendant
4    Facebook, Inc. and Plaintiffs Instagram LLC and WhatsApp Inc. (“Plaintiffs”) as follows:
5    I.       INTRODUCTION1
6             1.    WhoisGuard is without knowledge or information sufficient to form a belief
7    as to the truth of the allegations of paragraph 1 of the Complaint and on that basis denies
8    them.
9             2.    WhoisGuard is without knowledge or information sufficient to form a belief
10   as to the truth of the allegations of paragraph 1 of the Complaint and on that basis deny
11   them.
12            3.    Admit.
13            4.    WhoisGuard admits that it provides a proxy service to Namecheap’s
14   customers and that WhoisGuard and Namecheap refer to this service as “WhoisGuard” with
15   a capital “G.” WhoisGuard denies that it is Namecheap’s alter ego.
16            5.    WhoisGuard denies that it registers the domains and, also, denies that it is the
17   “registrant” within the meaning of the Anticybersquatting Consumer Protection Act
18   (“ACPA”) or otherwise. WhoisGuard further admits that Plaintiffs refer to this individual
19   or entity as the “Licensee.” WhoisGuard denies any remaining allegations of paragraph 5
20   of the Complaint.
21            6.    WhoisGuard admits that it is listed as the registrant for some domain names
22   which use the WhoisGuard service on publicly available domain name registration records
23   but denies that it is the “registrant” within the meaning of the ACPA or otherwise.
24            7.    WhoisGuard is without knowledge or information sufficient to form a belief
25   as to the truth of the allegations of paragraph 7 of the Complaint and on that basis denies
26   them.
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              WhoisGuard has included the headings listed in the Complaint simply to assist in
28   reading the pleadings and does not admit the accuracy of the headings to the extent that they
     can be construed as asserting allegations of fact.

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1            8.    Deny.
2            9.    Deny.
3            10.   WhoisGuard is without knowledge or information sufficient to form a belief
4    as to the truth of the allegations of paragraph 10 of the Complaint and on that basis denies
5    them.
6            11.   WhoisGuard is without knowledge or information sufficient to form a belief
7    as to the truth of the allegations of paragraph 11 of the Complaint and on that basis denies
8    them.
9            12.   WhoisGuard is without knowledge or information sufficient to form a belief
10   as to the truth of the allegations of paragraph 12 of the Complaint and on that basis denies
11   them.
12           13.   Deny.
13           14.   Deny.
14           15.   WhoisGuard admits that Namecheap is a party to the Domain Name
15   Registration Agreement. It denies that it is a party to the Domain Name Registration
16   Agreement. With respect to the contents of the Domain Name Registration Agreement, the
17   agreement speaks for itself and therefore no response is required by WhoisGuard. To the
18   extent a response is required, WhoisGuard denies the allegations of paragraph 15.
19           16.   WhoisGuard denies that it agreed that it is the Registered Name Holder or that
20   it “shall accept liability for harm caused by wrongful use of the Registered Name, unless it
21   discloses the current contact information provided by the licensee and the identity of the
22   licensee. To the extent that paragraph 16 is alluding to ICANN’s RAA, WhoisGuard admits
23   that Namecheap is a party to the RAA. With respect to the contents of the RAA, the
24   agreement speaks for itself and therefore no response is required by WhoisGuard. To the
25   extent a response is required, WhoisGuard denies the allegations of paragraph 16.
26           17.   WhoisGuard admits that Plaintiffs have sent notices to it requesting that it
27   disclose the identity and current contact information of Licensees but denies that Plaintiffs
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1    have provided reasonable evidence of actionable harm or that provision of such evidence
2    would require action on WhoisGuard’s part.
3            18.   Deny.
4            19.   WhoisGuard admits that Plaintiffs seeks the relief stated in paragraph 19 but
5    denies that Plaintiffs are entitled to any such relief. WhoisGuard denies that Defendants are
6    engaged in any unlawful or harmful conduct.
7    II.     THE PARTIES
8            20.   WhoisGuard is without knowledge or information sufficient to form a belief
9    to the truth of the allegations in paragraph 20 of the Complaint, and on that basis denies
10   them.
11           21.   WhoisGuard is without knowledge or information sufficient to form a belief
12   to the truth of the allegations in paragraph 21 of the Complaint, and on that basis denies
13   them.
14           22.   WhoisGuard is without knowledge or information sufficient to form a belief
15   to the truth of the allegations in paragraph 22 of the Complaint, and on that basis denies
16   them.
17           23.   Admit.
18           24.   WhoisGuard admits that it is a Republic of Panama corporation but denies
19   that its principal place of business is in Phoenix, Arizona.
20           25.   Deny.
21   III.    JURISDICTION AND VENUE
22           26.   Paragraph 26 of the Complaint contains conclusions of law to which no
23   response is required. To the extent a response is required, WhoisGuard admits that Plaintiffs

24   purport to invoke federal question jurisdiction over the federal causes of action alleged in
25   the Complaint pursuant to 28 U.S.C. § 1331.
26           27.   Paragraph 27 of the Complaint contains conclusions of law to which no

27   response is required. To the extent a response is required, WhoisGuard admits that

28   Namecheap has an office and some servers in Phoenix, Arizona; and that Namecheap



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1    specifies Arizona in the forum selection clauses of some of its contracts. WhoisGuard
2    denies the remaining the allegations in paragraph 27 of the Complaint.
3            28.   Paragraph 28 of the Complaint contains conclusions of law to which no
4    response is required. To the extent a response is required, WhoisGuard denies the
5    allegations of paragraph 28.
6            29.   WhoisGuard admits that it and Namecheap have entered into one or more
7    contracts related to domain name registration services and proxy services but denies that
8    these contracts were for services used in connection with an “unlawful scheme,” or that a
9    material term of these contracts was Defendants’ agreement to submit to this Court’s
10   jurisdiction. WhoisGuard admits that a copy of Namecheap’s Domain Name Registration
11   Agreement is attached as part of Exhibit 1 to the Complaint but denies that Exhibit 1 is
12   comprised of “the referenced agreements which form part of the agreement.” WhoisGuard
13   admits that attached to Exhibit 2 of the Complaint is a document titled Namecheap WHOIS
14   Proxy Agreement but denies that this document is “Whoisguard’s proxy service
15   agreement.”
16           30.   Paragraph 30 of the Complaint contains conclusions of law to which no
17   response is required. To the extent a response is required, WhoisGuard denies the
18   allegations of paragraph 30.
19   IV.     FACTUAL ALLEGATIONS
20                 A.     Background on Plaintiffs and their Trademarks
21           31.   WhoisGuard is without knowledge or information sufficient to form a belief
22   as to the truth of the allegations of paragraph 31 of the Complaint and on that basis denies
23   them.

24           32.   WhoisGuard is without knowledge or information sufficient to form a belief
25   as to the truth of the allegations of paragraph 32 of the Complaint and on that basis denies
26   them.

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1            33.   WhoisGuard is without knowledge or information sufficient to form a belief
2    as to the truth of the allegations of paragraph 33 of the Complaint and on that basis denies
3    them.
4            34.   WhoisGuard admits that documents which Plaintiffs purport to be registration
5    certificates are attached to the Complaint as Exhibit 3, and that Plaintiffs collectively refer
6    to Facebook’s asserted common law and registered trademarks as the “Facebook
7    Trademarks.” WhoisGuard is without knowledge or information sufficient to form a belief
8    as to whether Facebook owns the common law and registered trademark rights alleged.
9    WhoisGuard denies any remaining allegations of paragraph 34.
10           35.   WhoisGuard is without knowledge or information sufficient to form a belief
11   as to the truth of the allegations of paragraph 35 of the Complaint and on that basis denies
12   them.
13           36.   WhoisGuard denies the allegations of paragraph 36 of the Complaint.
14           37.   WhoisGuard admits that Facebook contends that it owns numerous
15   registrations for its “FB marks,” including those identified in subparagraphs a through d to
16   paragraph 37. WhoisGuard denies that Facebook is entitled to “extensive common law
17   rights” or trademark rights in the registrations identified in these subparagraphs.
18   WhoisGuard denies any remaining allegations of paragraph 37.
19           38.   WhoisGuard admits that documents which Plaintiffs purport to be registration
20   certificates are attached to the Complaint as Exhibit 4, and that Plaintiffs collectively refer
21   to Facebook’s asserted common law and registered trademarks as the “FB Trademarks.”
22   WhoisGuard denies that Facebook is entitled to the common law or registered trademark
23   rights in the FB Trademarks and denies all remaining allegations of paragraph 38.
24           39.   WhoisGuard denies that Facebook’s use of the FB Trademarks in interstate
25   commerce has been extensive, continuous, and substantially exclusive. WhoisGuard is
26   without knowledge or information sufficient to form a belief as to the truth of the remaining
27   allegations of paragraph 39 of the Complaint and on that basis denies them.
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1            40.   WhoisGuard is without knowledge or information sufficient to form a belief
2    as to the truth of the allegations of paragraph 40 of the Complaint and on that basis denies
3    them.
4            41.   WhoisGuard is without knowledge or information sufficient to form a belief
5    as to the truth of the allegations of paragraph 41 of the Complaint and on that basis denies
6    them.
7            42.   WhoisGuard is without knowledge or information sufficient to form a belief
8    as to the truth of the allegations of paragraph 42 of the Complaint and on that basis denies
9    them.
10           43.   WhoisGuard admits that documents which Plaintiffs purport to be registration
11   certificates are attached to the Complaint as Exhibit 5, and that Plaintiffs collectively refer
12   to Instagram’s asserted common law and registered trademarks as the “Instagram
13   Trademarks.” WhoisGuard is without knowledge or information sufficient to form a belief
14   as to whether Instagram owns the common law and registered trademark rights alleged.
15   WhoisGuard denies any remaining allegations of paragraph 43.
16           44.   WhoisGuard is without knowledge or information sufficient to form a belief
17   as to the truth of the allegations of paragraph 44 of the Complaint and on that basis denies
18   them.
19           45.   WhoisGuard is without knowledge or information sufficient to form a belief
20   as to the truth of the allegations of paragraph 45 of the Complaint and on that basis denies
21   them.
22           46.   WhoisGuard is without knowledge or information sufficient to form a belief
23   as to the truth of the allegations of paragraph 46 of the Complaint and on that basis denies
24   them.
25           47.   WhoisGuard is without knowledge or information sufficient to form a belief
26   as to the truth of the allegations of paragraph 47 of the Complaint and on that basis denies
27   them.
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1            48.   WhoisGuard admits that documents which Plaintiffs purport to be registration
2    certificates are attached to the Complaint as Exhibit 6, and that Plaintiffs collectively refer
3    to WhatsApp’s asserted common law and registered trademarks as the “WhatsApp
4    Trademarks.” WhoisGuard is without knowledge or information sufficient to form a belief
5    as to whether WhatsApp owns the common law and registered trademark rights alleged.
6    WhoisGuard denies any remaining allegations of paragraph 48.
7            49.   WhoisGuard is without knowledge or information sufficient to form a belief
8    as to the truth of the allegations of paragraph 49 of the Complaint and on that basis denies
9    them.
10           50.   WhoisGuard admits that Plaintiffs collectively refer to their asserted
11   trademarks as “Plaintiffs’ Trademarks.” WhoisGuard is without knowledge or information
12   sufficient to form a belief as to whether Plaintiffs own the common law and registered
13   trademark rights alleged. WhoisGuard denies any remaining allegations of paragraph 50.
14                 B.     WhoisGuard is the Registrant of the Domain Names2
15           51.   WhoisGuard admits that Namecheap is accredited by ICANN and subject to
16   a version of ICANN’s RAA. WhoisGuard is without knowledge or information sufficient
17   to form a belief as to whether the version of the RAA attached to the Complaint as Exhibit
18   7 is the operative version which Namecheap entered into. WhoisGuard denies any
19   remaining allegations of paragraph 51.
20           52.   WhoisGuard admits that it provides a domain registration proxy service.
21   WhoisGuard admits that it provides privacy proxy services, but denies that it is the
22   “registrant” within the meaning of the ACPA. WhoisGuard denies any remaining
23   allegations of paragraph 52 of the Complaint.
24           53.   WhoisGuard denies that the document attached as Exhibit 2 is WhoisGuard’s
25   Proxy Agreement. With respect to the contents of the document attached as Exhibit 2, the
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28           WhoisGuard denies that it is the registrant of the domain names within the meaning
     of the ACPA.

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1    agreement speaks for itself and therefore no response is required by WhoisGuard. To the
2    extent a response is required, WhoisGuard denies the allegations of paragraph 53.
3           54.      To the extent that paragraph 54 is referring to or quoting the contents of the
4    document attached as Exhibit 8, the document speaks for itself and therefore no response is
5    required by WhoisGuard. To the extent a response is required, WhoisGuard denies the
6    allegations of paragraph 54.
7           55.      WhoisGuard admits that its contact information is listed in the WHOIS
8    directory. WhoisGuard denies that it is the “registrant” within the meaning of the ACPA.
9    WhoisGuard denies the remaining allegations of paragraph 55.
10          56.      Deny.
11                   C.      Namecheap is Responsible for the Actions of Whoisguard, its Alter
12                           Ego3
13          57.      Deny.

14          58.      Deny.
15          59.      WhoisGuard admits that Namecheap describes the service as “WhoisGuard
16   by Namecheap” and that WhoisGuard provides a domain name registration proxy service

17   on behalf of Namecheap. WhoisGuard is without knowledge or information sufficient to

18   form a belief as to whether the document attached as Exhibit 9 is an annotated screen capture

19   of Namecheap’s website. WhoisGuard denies the remaining allegations of paragraph 59.

20          60.      WhoisGuard admits that Namecheap’s customers can obtain the WhoisGuard

21   service directly from their Namecheap user account. WhoisGuard is without knowledge or
22   information sufficient to form a belief as to the remaining allegations in paragraph 60, and
23   on that basis denies them.

24          61.      WhoisGuard admits that its services are provided to Namecheap’s users at no
25   charge to the users, and that Namecheap provides the WhoisGuard service as part of its
26   regular service. WhoisGuard denies any remaining allegations of paragraph 61.

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                WhoisGuard denies that Namecheap is its alter ego or responsible for its actions.

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1           62.    WhoisGuard admits that Namecheap has in the past responded to inquiries
2    regarding registrant information. WhoisGuard denies that it was served with reasonable
3    evidence of actionable harm. WhoisGuard denies the remaining allegations of paragraph
4    62.
5           63.    Deny.
6           64.    WhoisGuard lacks knowledge and information as to admit or deny the
7    allegations in paragraph 64, and on that basis denies those allegations.
8           65.    Admit.
9           66.    Deny.
10          67.    Deny.
11          68.    Deny.
12                 D.      Defendants Registered, Trafficked In, and/or Used the Infringing
13                         Domain Names4
14          69.    Deny.
15          70.    Deny.
16          71.    Deny.

17          72.    Deny.

18          73.    Deny.

19          74.    WhoisGuard admits that it provides privacy proxy services, but denies that it

20   is the “registrant” within the meaning of the ACPA. WhoisGuard lacks knowledge or

21   information sufficient to form a belief as to whether the documents attached as Exhibit 11
22   are genuine. WhoisGuard denies any remaining allegations of paragraph 74.
23          75.    WhoisGuard admits that it provides privacy proxy services, but denies that it

24   is the “registrant” within the meaning of the ACPA. WhoisGuard denies any remaining
25   allegations of paragraph 75.
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28            WhoisGuard denies that Defendants registered, trafficked in, or used the alleged
     Infringing Domain Names within the meaning of the ACPA.

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1           76.      WhoisGuard denies that it “trafficked” in the Infringing Domain Names
2    within the meaning of the ACPA. WhoisGuard denies any remaining allegations of
3    paragraph 76.
4           77.      WhoisGuard denies that it registered, trafficked in, or used the allegedly
5    Infringing Domain Names within the meaning of the ACPA (other than literally registering
6    the domains as an administrator to provide privacy proxy services). WhoisGuard lacks
7    knowledge and information as to whether the asserted Facebook Trademarks and Instagram
8    Trademarks were distinctive or famous. WhoisGuard denies any remaining allegations of
9    paragraph 77.
10          78.      WhoisGuard denies that it registered, trafficked in, or used the allegedly
11   Infringing Domain Names within the meaning of the ACPA (other than literally registering
12   the domains as an administrator to provide privacy proxy services). WhoisGuard denies that
13   the asserted FB Trademarks were distinctive. WhoisGuard lacks knowledge and
14   information as to whether the asserted WhatsApp Trademarks were distinctive and denies
15   that allegation on that basis. WhoisGuard denies any remaining allegations of paragraph 78.
16          79.      WhoisGuard lacks knowledge and information as to the allegations in
17   paragraph 79 and on that basis denies them.
18                   E.    Defendants’ Failure to Disclose Contact Information 5
19          80.      Paragraph 80 of the Complaint contains conclusions of law to which no
20   response is required. To the extent paragraph 80 alludes to or quotes the RAA, the RAA
21   speaks for itself and therefore no response is required by WhoisGuard. To the extent a
22   response is required, WhoisGuard denies the allegations of paragraph 80.
23          81.      Paragraph 81 of the Complaint contains conclusions of law to which no
24   response is required. To the extent paragraph 81 alludes to or quotes the documents attached
25   as Exhibits 1 and 2 to the Complaint, the documents speaks for themselves and therefore
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             WhoisGuard denies that it had any obligation to disclose the registrants’ contact
     information, or that Defendants failed to do so.

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1    no response is required by WhoisGuard. To the extent a response is required, WhoisGuard
2    denies the allegations of paragraph 81.
3           82.      Paragraph 81 concerns the content of Namecheap’s Domain Registration
4    Agreement. The agreement speaks for itself and therefore no response is required by
5    WhoisGuard. To the extent a response is required, WhoisGuard denies the allegations of
6    paragraph 82.
7           83.      WhoisGuard lacks sufficient information to admit or deny whether Plaintiffs’
8    representatives sent notices to it concerning the alleged Infringing Domain Names along
9    with requests that WhoisGuard disclose the identities of the registrants, and on that basis,
10   denies those allegations. WhoisGuard denies that it was provided reasonable evidence that
11   each of the Infringing Domain Names caused Plaintiffs actionable harm. WhoisGuard
12   denies any remaining allegations of paragraph 83, including all subparagraphs thereto.
13          84.      Deny.
14                   F.      Defendants’ Bad Faith Intent to Profit6
15          85.      WhoisGuard lacks knowledge or information as to the allegations in
16   paragraph 85 and on that basis denies them.
17          86.      WhoisGuard lacks knowledge or information as to the allegations in
18   paragraph 86 and on that basis denies them.
19          87.      WhoisGuard lacks knowledge or information as to the allegations in
20   paragraph 87 and on that basis denies them.
21          88.      Deny.
22          89.      Deny.
23          90.      Deny.
24          91.      Deny.
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                WhoisGuard deny that Defendants had a bad faith intent to profit.

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1           92.    WhoisGuard admits that it continued to provide the WhoisGuard service after
2    receiving Plaintiffs’ Notices. WhoisGuard denies the remaining allegations of paragraph
3    92.
4           93.    WhoisGuard denies that it is “aware” that its service is being used to infringe
5    the trademark rights of trademark owners and further states that its services are entirely
6    automated. WhoisGuard admits that out of the millions of domains for which its services
7    have been used, some domains have been the subject of UDRP complaints for
8    cybersquatting. WhoisGuard denies that it is the true respondent in such actions; instead,
9    the customer who selected and registered the domain name at issue is the true respondent
10   in interest. WhoisGuard lacks knowledge or information regarding Plaintiffs’ search of
11   domain name complaints filed under the UDRP or the results of that search, or the contents
12   of the document attached as Exhibit 13. WhoisGuard notes, however, that Exhibit 13 shows
13   that in such proceedings, the registrant’s identities are revealed. WhoisGuard denies any
14   remaining allegations of paragraph 93.
15          94.    Deny.
16          95.    WhoisGuard lacks knowledge and information regarding Plaintiffs’ UDRP
17   complaints or the results thereof. WhoisGuard denies that any such complaints can be fairly
18   characterized as complaints “against Whoisguard” because it is not the true respondent in
19   such actions; instead, the customer who selected and registered the domain name at issue
20   would have been the true respondent in interest.
21          96.    To the extent paragraph 96 quotes or alludes to the content of Namecheap’s
22   response to Facebook’s notice dated January 23, 2019, the document speaks for itself and
23   no response is required by WhoisGuard. To the extent a response is required, WhoisGuard
24   denies the allegations.
25          97.    To the extent paragraph 97 quotes or alludes to the content of Namecheap’s
26   response to Facebook’s notice dated January 23, 2019, the document speaks for itself and
27   no response is required by WhoisGuard. To the extent a response is required, WhoisGuard
28   denies the allegations.


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1           98.     To the extent paragraph 98 quotes or alludes to the content of WhoisGuard’s
2    response to Facebook’s notice dated January 23, 2019, the document speaks for itself and
3    no response is required by WhoisGuard. To the extent a response is required, WhoisGuard
4    denies the allegations.
5           99.     To the extent paragraph 99 quotes or alludes to the content of the document
6    attached as Exhibit 2 to the Complaint, the document speaks for itself and no response is
7    required by WhoisGuard. To the extent a response is required, WhoisGuard denies the
8    allegations.
9           100.    To the extent paragraph 100 quotes or alludes to the content of the document
10   attached as Exhibit 2 to the Complaint, the document speaks for itself and no response is
11   required by WhoisGuard. To the extent a response is required, WhoisGuard denies the
12   allegations.
13          101.    To the extent paragraph 101 quotes or alludes to the content of the document
14   attached as Exhibit 2 to the Complaint, the document speaks for itself and no response is
15   required by WhoisGuard. To the extent a response is required, WhoisGuard denies the
16   allegations. As to footnote 1, WhoisGuard lacks knowledge or information as to the
17   allegations and on that basis denies them.
18          102.    To the extent paragraph 102 quotes or alludes to the content of WhoisGuard’s
19   response to Facebook’s notice dated January 23, 2019, the document speaks for itself and
20   no response is required by WhoisGuard. To the extent a response is required, WhoisGuard
21   denies the allegations of paragraph 102. Specifically, WhoisGuard denies that it
22   intentionally provided material and misleading false content information.
23          103.    Deny.
24          104.    Deny.
25                                  FIRST CAUSE OF ACTION
26           [Cybersquatting on Plaintiffs’ Trademarks Under 15 U.S.C. § 1125(d)]
27          105.    WhoisGuard incorporates by reference its responses to paragraphs1 through

28   105, inclusive, as though fully set forth herein.



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1           106.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
2    allegations in paragraph 106 and on that basis denies them.
3           107.   Deny.
4           108.   Deny.
5           109.   Deny.
6           110.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
7    allegations in paragraph 110 and on that basis denies them.
8           111.   WhoisGuard admits that it has not claimed any trademark or other intellectual
9    property rights in the alleged Infringing Domain Names. WhoisGuard lacks knowledge or
10   information sufficient to admit or deny the remaining allegations in paragraph 111 and on
11   that basis denies them.
12          112.   WhoisGuard admits that the alleged Infringing Domain Names do not consist
13   of the legal name of Defendants. WhoisGuard lacks knowledge or information sufficient to
14   admit or deny the remaining allegations in paragraph 112 and on that basis denies them.
15          113.   WhoisGuard admits that it has not made any use of the alleged Infringing
16   Domain Names in connection the offering of any goods or services, whether prior to
17   Plaintiffs’ alleged use of their marks or otherwise. WhoisGuard lacks knowledge or
18   information sufficient to admit or deny the remaining allegations in paragraph 113 and on
19   that basis denies them.
20          114.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
21   allegations in paragraph 114 and on that basis denies them.
22          115.   Deny.
23          116.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
24   allegations in paragraph 116 and on that basis denies them.
25          117.   Deny.
26          118.   Deny.
27          119.   Deny.
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1           120.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
2    allegations in paragraph 120 and on that basis denies them.
3           121.   Deny.
4           122.   Deny.
5           123.   Deny.
6           124.   Deny.
7           125.   Deny.
8                                 SECOND CAUSE OF ACTION
9       [Trademark and Service Mark Infringement of Plaintiffs’ Trademarks Under
10                                        15 U.S.C. § 1114]

11          126.   WhoisGuard incorporates by reference its responses to all of the preceding

12   paragraphs, as though fully set forth herein.

13          127.   WhoisGuard lacks knowledge or information sufficient to admit or deny the

14   allegations in paragraph 127 and on that basis denies them.

15          128.   WhoisGuard lacks knowledge or information sufficient to admit or deny the

16   allegations in paragraph 128 and on that basis denies them.

17          129.   WhoisGuard lacks knowledge or information sufficient to admit or deny the

18   allegations in paragraph 129 and on that basis denies them.

19          130.   Deny.

20          131.   Deny.

21          132.   Deny.

22          133.   Deny.

23          134.   Deny.

24                                 THIRD CAUSE OF ACTION

25     [Trademark and Service Mark Infringement of Plaintiffs’ Trademarks and False

26                      Designation of Origin Under 15 U.S.C. § 1125(a)]

27          135.   WhoisGuard incorporates by reference its responses to all of the preceding

28   paragraphs, as though fully set forth herein.



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1           136.   Deny.
2           137.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
3    allegations in paragraph 137 and on that basis denies them.
4           138.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
5    allegations in paragraph 138 and on that basis denies them.
6           139.   WhoisGuard lacks knowledge or information sufficient to admit or deny the
7    allegations in paragraph 139 and on that basis denies them.
8           140.   Deny.
9           141.   Deny.
10          142.   Deny.
11          143.   Deny.
12          144.   Deny.
13                               FOURTH CAUSE OF ACTION
14            [Dilution of the Facebook Trademarks and Instagram Trademarks
15                                   Under 15 U.S.C. § 1125(c)]

16          145.   WhoisGuard incorporates by reference its responses to all of the preceding

17   paragraphs, as though fully set forth herein.

18          146.   WhoisGuard lacks knowledge or information sufficient to admit or deny the

19   allegations in paragraph 146 and on that basis denies them.

20          147.   WhoisGuard lacks knowledge or information sufficient to admit or deny the

21   allegations in paragraph 147 and on that basis denies them.

22          148.   WhoisGuard lacks knowledge or information sufficient to admit or deny the

23   allegations in paragraph 148 and on that basis denies them.

24          149.   WhoisGuard lacks knowledge or information sufficient to admit or deny the

25   allegations in paragraph 149 and on that basis denies them.

26          150.   Deny.

27          151.   Deny.

28          152.   Deny.



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      Case 2:20-cv-00470-GMS Document 53 Filed 11/24/20 Page 18 of 28



1           153.   Deny.
2           154.   Deny.
3                                  AFFIRMATIVE DEFENSES
4           WhoisGuard alleges and asserts the following defenses in response to the allegations
5    contained in Plaintiffs’ Complaint. WhoisGuard specifically reserves the right to assert
6    additional defenses that become known through the course of discovery.
7                                         FIRST DEFENSE
8           This Court does not have personal jurisdiction over WhoisGuard.
9                                       SECOND DEFENSE
10          Plaintiffs’ Complaint fails to state a claim upon which relief can be granted.
11                                       THIRD DEFENSE
12          Plaintiffs’ Compliant is barred, in whole or in part, by the Lanham Act safe harbor
13   for domain service providers. 15 U.S.C. § 1114.
14                                      FOURTH DEFENSE
15          Plaintiffs lack standing to bring their claims, in whole or in part, because they do not
16   possess valid trademark rights in the alleged trademarks. Plaintiffs’ alleged trademark
17   registrations are invalid for the reasons set forth in the below counterclaim and therefore
18   cannot support Plaintiffs’ claims. Alternatively, Plaintiffs’ alleged trademarks are not
19   distinctive or famous, and therefore they cannot support Plaintiffs’ claims for violation of
20   the ACPA and/or for dilution.
21                                       FIFTH DEFENSE
22          On information and belief, Plaintiffs have made false or improper representations
23   with the intent to induce the U.S. Patent and Trademark Office to issue a trademark
24   representation.
25                                       SIXTH DEFENSE
26          Plaintiffs’ claims are barred by the equitable defense of laches.
27                                     SEVENTH DEFENSE
28          Plaintiffs’ claims are barred by the equitable defenses of estoppel and/or waiver.


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1                                        EIGHTH DEFENSE
2           Plaintiffs’ claims are barred by the doctrine of acquiescence.
3                                         NINTH DEFENSE
4           Plaintiffs’ claims are barred by unclean hands.
5                                        TENTH DEFENSE
6           Plaintiffs’ claims are barred by the Plaintiffs’ failure to mitigate their damages,
7    including by choosing not to seek transfer of the domains at issue by the fastest available
8    means such as through a UDRP proceeding which would typically have been resolved far
9    faster than the proceedings Plaintiffs chose to pursue.
10                                    ELEVENTH DEFENSE
11          Plaintiffs’ claims are barred by the failure of Plaintiffs to join an indispensable party
12   as defendant in this action, including the domain name registrants, the companies
13   responsible for hosting the alleged websites’ content, and anyone else that may be involved
14   in the operation of the alleged websites, phishing, malware, or spam.
15                                     TWELFTH DEFENSE
16          Plaintiffs’ claims are barred in whole or in part because, upon information and belief,
17   the registrant has legitimate rights in the name, the registrant made lawful use of the domain
18   name in connection with the good faith offering of goods or services, and/or the registrant’s
19   use of the name was noncommercial or protected by the doctrine of fair use.
20                         WHOISGUARD’S PRAYER FOR RELIEF
21          WHEREFORE, WhoisGuard prays for judgment against Plaintiffs as follows:
22          1. That the Complaint be dismissed with prejudice in its entirety;
23          2. That Plaintiffs take nothing by reason of their Complaint;
24          3. That judgment be entered in favor of WhoisGuard;
25          4. For recovery of WhoisGuard’s costs of suit, including its attorneys’ fees to the
26             extent recoverable; and
27          5. For such other and further relief as the Court deems just and equitable.
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1                       COUNTERCLAIM AGAINST FACEBOOK, INC.
2           Defendant and Counterclaimant WhoisGuard, Inc. (“WhoisGuard”), for its
3    counterclaim against Plaintiff and Counter Defendant Facebook, Inc. (“Facebook”), alleges
4    as follows:
5                                 JURISDICTION AND VENUE
6           1.      The Court has jurisdiction over the subject matter of this counterclaim
7    pursuant to 28 U.S.C. §§ 1331 and 1338(a), as this counterclaim arises under the trademark
8    laws of the United States.
9           2.      Venue is proper and should be maintained in this Court pursuant to 28 U.S.C.
10   § 1391.
11                                         THE PARTIES
12          3.      Based on the allegations in paragraph 20 of the Complaint, WhoisGuard is
13   informed and believes and therefore alleges that Facebook is a Delaware corporation with
14   its principal place of business in Menlo Park, California.
15          4.      WhoisGuard is a Panama corporation with its principal place of business in
16   Panama City, Republic of Panama.
17                                  FACTUAL ALLEGATIONS
18          5.      Based on the allegations of paragraphs 36 and 37 of the Complaint, Facebook
19   claims to own the exclusive rights to the FB wordmark, i.e., the letters “FB” in standard
20   characters without regard to any particular design, font, or style.
21          6.      Based on the allegations of paragraph 37 of the Complaint, Facebook claims
22   to own “numerous” United States registrations for its asserted FB marks, including the
23   following federal trademark registrations (collectively, the “FB Registrations”):
24               a. United States Registration Number 4,659,777;
25               b. United States Registration Number 4,764,764;
26               c. United States Registration Number 4,782,234; and
27               d. United States Registration Number 4,782,235
28          7.      Based on public information made available by the United States Patent and

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1    Trademark Office, the FB Registrations list the following services:
2                a. ‘777 Registration:
3                          International Class 035: Promoting the goods and services of others
4                          over the Internet
5                b. ‘764 Registration:
6                          International Class 042: Computer services, namely, hosting online
7                          web facilities for others for organizing and conducting online
8                          meetings, gatherings, and interactive discussions; computer services in
9                          the nature of customized web pages featuring user defined
10                         information, personal profiles and information
11               c. ‘234 Registration:
12                         International Class 045: Internet based social introduction and social
13                         networking services
14               d. ‘235 Registration:
15                         International Class 038: Providing online chat rooms and electronic
16                         bulletin boards for transmission of messages among registered users in
17                         the fields of collegiate life, general interest, classifieds, virtual
18                         community, and for social networking; and peer-to-peer photo sharing
19                         services, namely, electronic transmission of digital images among
20                         Internet and mobile device users
21         8.       Facebook filed the application which eventually matured into the ‘777
22   Registration on July 14, 2008.
23         9.       Facebook filed the application which eventually matured into the ‘764
24   Registration on July 14, 2008.
25         10.      Facebook filed the application which eventually matured into the ‘234
26   Registration on March 12, 2012.
27         11.      Facebook filed the application which eventually matured into the ‘235
28   Registration on March 6, 2012.


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1           12.    Based on public information made available by the United States Patent and
2    Trademark Office Facebook filed the applications for each of the FB Registrations as intent-
3    to-use applications pursuant to 15 U.S.C. § 1051(b), implying that as of the time the
4    applications were filed Facebook was not yet using the “FB” mark.
5           13.    In 2014 and 2015, Facebook filed Statement of Use declarations for each of
6    the FB Registrations. In each of the Statements of Use, Facebook’s attorney declared to the
7    United States Patent and Trademark Office under penalty of perjury that Facebook’s first
8    use in commerce of the “FB” mark occurred on “04/00/2014.”
9           14.    In connection with its applications for each of the FB Registrations, Facebook
10   submitted as specimens of its purported use in commerce screenshots from the FB
11   Newswire Facebook page, representative examples of which are reproduced below:
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28          (from the ‘235, ‘234, and ‘764 Registrations)


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21         (from the ‘777 Registration)

22         15.    The specimens submitted by Facebook do not show the FB mark in use in

23   commerce in connection with all of the services specified in the FB Registrations.

24         16.    Indeed, the Examining Attorney for the ‘777 Registration issued an Office

25   Action on November 12, 2014 in response to Facebook’s Statement of Use rejecting the

26   FB Newswire specimen as “unacceptable” because the specimen does not demonstrate that

27   Facebook is using the “FB” mark in “promoting the goods and services of others over the

28   Internet.” Nonetheless, just one week later, and without waiting for Facebook to respond to



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1    the Office Action or withdrawing the Office Action, the United States Patent and Trademark
2    Office issued a Notice of Acceptance for the Statement of Use for the ‘777 Registration.
3           17.    Upon information and belief, Facebook has never used the “FB” mark in
4    promoting the goods and services of others over the Internet.
5           18.    Furthermore, Facebook ceased operating the FB Newswire page which it
6    used to obtain the FB Registrations on or about October 18, 2016.
7           19.    Facebook’s current brand guidelines publicly available on its Brand Resource
8    Center website, en.facebookbrand.com, make no mention of using “FB” as a trademark for
9    either the Facebook company or the Facebook app.
10          20.    While Facebook does own domain names incorporating the letters FB (e.g.,
11   fb.com, which re-directs to facebook.com) the use of “FB” in a domain name is not a use
12   of “FB” as a trademark in commerce. To qualify as a trademark use, the asserted mark must
13   be used to identify and distinguish the trademark owner’s goods and services. Mere use of
14   a domain name incorporating an asserted mark is not a use of the mark in commerce.
15   Brookfield Commc’ns, Inc. v. West Coast Ent Corp., 174 F.3d 1036, 1051 (9th Cir. 1999);
16   Panavision Int’l, L.P. v. Toeppen, 141 F.3d 1318, 1324 (9th Cir. 1988).
17          21.    Upon information and belief, Facebook ceased using “FB” as a trademark in
18   commerce in or around October 2016, when it ceased operating the FB Newswire page, and
19   has not made any trademark use of “FB” since that time.
20                                 FIRST CAUSE OF ACTION
21                              (Cancellation of FB Registrations)
22                                   Pursuant to 15 U.S.C. § 1119
23          22.    WhoisGuard repeats and realleges each of the allegations set forth in the
24   preceding paragraphs of this Counterclaim as if fully set forth herein.
25          23.    This Court has the power to order cancellation of the FB Registrations
26   pursuant to 15 U.S.C. § 1119.
27          24.    The FB Registrations are not incontestable. While the FB Registrations are
28   more than five years old, Facebook has not filed a declaration of incontestability for any of


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1    the FB Registrations pursuant to Section 15 of the Lanham Act, 15 U.S.C. § 1065.
2           25.       Each of the FB Registrations is comprised solely of the letters “FB,” which
3    when used in connection with Facebook’s services is, at best, merely descriptive thereof.
4    Facebook has not and cannot established acquired distinctiveness in the letters “FB,” which
5    are in the public domain.
6           26.       On information and belief, Facebook has not used “FB” as a trademark in
7    commerce in connection with all of the services in the FB Registrations.
8           27.       On information and belief, Facebook has ceased use of “FB” as a trademark
9    in connection with some or all of the services in the FB Registrations.
10          28.       On information and belief, Facebook has no intent to resume use of “FB” as
11   a trademark in connection with all of the services in the FB Registrations.
12          29.       On information and belief, Facebook has abandoned the “FB” mark, in whole
13   or in part.
14          30.       For the reasons above, the FB Registrations are invalid.
15          31.       WhoisGuard has been damaged and will likely continue to be damaged by the
16   FB Registrations, as Facebook is relying, in part, on those registrations as a basis for this
17   action for cybersquatting and other related claims.
18          32.       Accordingly, WhoisGuard is entitled to an order from this Court canceling
19   the FB Registrations, in whole or in part.
20                                   SECOND CAUSE OF ACTION
21                 (Declaratory Judgment – Invalidity of Common Law “FB” Mark)
22                               Pursuant to 28 U.S.C. §§ 2201 and 2202
23          33.       WhoisGuard repeats and realleges each of the allegations set forth in the
24   preceding paragraphs of this Counterclaim as if fully set forth herein.
25          34.       WhoisGuard requests an order declaring that Facebook’s alleged exclusive
26   rights in the letters “FB” are invalid and unenforceable for the following reasons:
27                 a. Facebook has not and cannot established acquired distinctiveness in the letters
28                    “FB,” which are in the public domain;


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1                b. On information and belief, Facebook has not used “FB” in commerce;
2                c. On information and belief, Facebook has ceased use of “FB” as a trademark
3                   and has no intent to resume use of “FB” as a trademark; and
4                d. On information and belief, Facebook has abandoned the “FB” mark.
5          35.      WhoisGuard therefore seeks a declaration that Facebook’s claimed common
6    law trademark rights in “FB” are invalid and unenforceable.
7                           WHOISGUARD’S PRAYER FOR RELIEF
8          WHEREFORE, WhoisGuard hereby requests that judgment be entered in its favor
9    and the following relief be provided:
10               a. Cancellation of Facebook’s federal trademark Registration Nos. 4,659,777,
11                  4,764,764, 4,782,234, and 4,782,235;
12               b. A declaration of the invalidity of Facebook’s common law trademark rights
13                  in the letters “FB;”
14               c. For recovery of Defendant’s costs of suit, including its attorneys’ fees to the
15                  extent recoverable; and
16               d. For such other and further relief as the Court deems just and equitable.
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1                                       JURY DEMAND
2          WhoisGuard demands a trial by jury of all issues so triable pursuant to Rule 38 of
3    the Federal Rules of Civil Procedure.

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5    Dated: November 24, 2020
                                             ROME & ASSOCIATES, A.P.C.
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7
                                             By: s/ Eugene Rome
8                                               Eugene Rome
9                                               Sridavi Ganesan
                                                Brianna Dahlberg
10
11
                                             FENNEMORE CRAIG, P.C.
12
13
                                             By: s/ Ray Harris
14                                              Ray K. Harris
                                                Mario C. Vasta
15
16                                              Attorneys for Defendants
                                                Namecheap, Inc. and Whoisguard, Inc.
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1                                CERTIFICATE OF SERVICE
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           I hereby certify that on November 24, 2020, I electronically transmitted the attached
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     document to the Clerk’s Office using the ECF System for filing and transmittal of Notice
4
5    of Electronic Filing to the CM/ECF registrants of record.

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                                                                   By: s/ Eugene Rome
8                                                                         Eugene Rome
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